Case 22-20823-GLT Doc572-1 Filed 03/19/24 Entered 03/19/24 09:35:56 Desc

U LOCK, INC.

Exhibit Page 1 of 12

CHAPTER 7 BANKRUPTCY

NO. 22-20823-GLT

Professional Services Rendered:

9/19/2022
9/19/2022
6/23/2022
6/23/2022
6/23/2022
6/24/2022
6/24/2022
6/30/2022
6/30/2022
7/1/2022
7/1/2022
7/1/2022
7/5/2022
7/6/2022
7/6/2022
7/6/2022
7/6/2022
7/6/2022
7/6/2022

7/7/2022

7/8/2022

7/8/2022

ROBERT H. SLONE
CHAPTER 7 TRUSTEE
BILLING THROUGH 3/7/2024

uv

-$425.00/Hour
Email Bernstein Law ond call to Bob Bernstein 0.30 hrs
George Snyder came to office 0.20 hrs
Review of Docket 0.50 hrs
Call to Charles Zebley . 0.40 hrs
Calls--George Snyder, Sarah Wenrich & Allen Roth 0.50 hrs
Calls--Allen Roth 0.30 hrs
Review Orders dated 6/3/22 & 6/17/22 and transcript of 6/2/22 hearing 0.60 hrs
Calls and emails--William Otto re remediation 0.30 hrs
Call Allen Roth--remediation 0.30 hrs _
Emails from Attys Otto and Roth 0.30 hrs
Email to Attorney Roth 0.20 hrs
Motion to Convert to Chapter 11 and review 0.30 hrs
Call attorney Zebley 0.20 hrs
Review Status Report and Schedule A/B 0.40 hrs
Review of rents due 0.30 hrs
Call Charles Zebley ce 0.30 hrs
Review of Schedules filed _ 0.40 hrs
Calls--William Otto 0.40 hrs
Call Allen Roth 0.10 hrs
Viewing of real estate and meeting with Wm Otto
(30 miles round trip) 2.00 hrs
Call and materials from Atty. Otto 0.60 hrs
Call from Glen Mowry 0.20 hrs

127.50
85.00

212.50

170.00

212.50
127.50
255.00
127.50
127.50
127.50

85.00
127.50

85.00
170.00
127.50
127.50
170.00
170.00

42.50

850.00

255.00

85.00

Page 1
Case 22-20823-GLT Doc572-1 Filed 03/19/24 Entered 03/19/24 09:35:56 Desc
Exhibit Page 2 of 12

7/11/2022 Letters to all Lessees

a
co Q

Call from George Snyder; c

7/14/2022 - Review of Citizens Bank Statements (p: accounts)

ssteegtte
ee
ey

/15/2

x

i a

Email t

7/18/2022

ton

eeeeabenttareeczuray
Le

“/ipon

wosysenene

a 212.50
g es ; eB ‘ | i 2 _ a
7/26/2022 Emails from Willia m Otto

O.30hrs $ 127.50

Page 2

Case 22-20823-GLT Doc572-1 Filed 03/19/24 Entered 03/19/24 09:35:56 Desc

Exhibit Page 3 of 12
7/26/2022 Email to and from William Otto Re rents 0.20 hrs S
7/27/2022. 0. 20 ars

7/27/2022 _

eenomaetnseteoremeacrectecen

an
Call to Charles Zebl 0.20hrs = =S

Call aa

Call from Sara Wenrich

sjgjoee
ee

8/16/2022 Prepare for Stat ‘us Conference hearing

Case 22-20823-GLT Doc572-1 Filed 03/19/24 Entered 03/19/24 09:35:56
Exhibit Page 4 of 12

8/18/2022 Meeting at U Lock (30 miles)- Atty | Otto, Irwin Post Office

sapaveenrammnneans
SS
es

9/19/2022

cu neaerworape

0. 10 hrs

s

5

Call see

: CO
7

zo

n Roth r re e Ba nk Account

ee
oy

'S of Court

Be
Letters

Call to William Otto

Call George ae

Zs

9/9/2022 Calls~Glen Mowry and Brian a

Desc

127.50

Page 4

Case 22-20823-GLT Doc572-1 Filed 03/19/24 Entered 03/19/24 09:35:56 Desc

9/12/2022
oe

SE hes

9/ 12/2022
Ze

Bes
/16/2022

9/28/2022

‘10 2A/ 2022

Exhibit Page 5 of 12

Call from Sharon McCann

LS
ey

sons

N. Huntingdon Twp) re hazardous iterns on real estate

ae

PESOS ESOS

“Review new offets—USAAG: mails Se

Co pepe
.

Call Lary B Burns

ce

Visit to Ulock, Rt. 30 N. Huntingdon

ee

‘Calls “sara h Wenrich 0.10 hrs

Page 5

Case 22-20823-GLT Doc572-1 Filed 03/19/24 Entered 03/19/24 09:35:56 Desc
Exhibit Page 6 of 12

_Call to Sarah Wenrich_ S

10/24/2022 _ 0.30 hrs

11/1/2022 _Geroge ‘Snyder-call

eet

11/4/2022
11/9/2022 Calls “Sarah Wenrick Allen Roth and illliam Otto S

ssp

Email to Jill Locknicar, Esq

emcee

11/10/2022 Calls to Willliam Otto and Sara Wenrich

11/11/2022 Call to John Joyce, Esq.
11/11/2022 Meeting-George Snyder

11/16/2022, loycereSale  ———éid 127.50

11/17/2022 : Amended Notice- file, ad in Tribune

Review; EAS! 1.00 hrs S 425.00

11/17/2022 . . Calls—William Otto; Sarah Wenrich re Sale . . . 0.30 hrs . 127.50

11/21/2022 On site visit to U Lock, Route 30 N. Huntingdon

41/21/2022 Call from N. Huntingdon police department —Officer Varner

He

11/27/2022 . 0.30hrs $§ 127.50
0.20hrs S$

bley . . 0.20 hrs

ree

0.10 hrs

ee
11/29/2022 __ Calls-William Otto and Bob Bernstein re sale

warp

11/30/2022 Notice of Bids . . | ~  O50hrs $§ 212.50

Page 6

Case 22-20823-GLT Doc572-1 Filed 03/19/24 Entered 03/19/24 09:35:56 Desc
Exhibit Page 7 of 12

12/2/2022 Site visits-McKeesport, N. Hunting don per Order
speeaceewst ras cree 7 i

“12/ 5/ 2022
aparece

Meeting- Larry Burns and Glen Mowry re ownership of assets
_scoaeeny sa 2

PANES

12/ 8/ 2022

a
: o

oe

oe oe
call from William Otto

“12/19/2022 Call ro

cena

wr 22/2 2022

“TD 27/2022

Call John Joyce

can %
Meeting at tu Lock with Shani Snyder and contractor (32 miles)

Review of Shani Snyder’ s response in|Shani Snyder’ Ss bankruptcy

Call Charles Zebley

1/5/2023 Review of docket for a oo 0.40hrs $170.00

Page 7

Case 22-20823-GLT Doc572-1 Filed 03/19/24 Entered 03/19/24 09:35:56 Desc
Exhibit Page 8 of 12

1/5/2023 Review— objection to Biros' claim #4 0.30 hrs ° 127.50

_List of renters to William Otto

sper

ae
Se
oe oe
sa

a
212.50

ce

0. 10 hrs

2
“1/24/2 Emails to Allen Roth, George Snyder ; and Kash Snyder

) Review of Court Orders : ) 170. 00

ee 1 se a
oe :
me

ss

2/3/2023 Review of information re Robert Bernstein’ s emails

$ 340. 00

ih

Call Trustee Zebley

cee “Emails ee from Allen Roth and Robert Bernstein ) . 0.50 hrs S 212.50

Page 8

Case 22-20823-GLT Doc572-1 Filed 03/19/24 Entered 03/19/24 09:35:56 Desc
Exhibit Page 9 of 12

2/21/2023 Emails from and to Robert Bernstein . 0.30 hrs.

Emails to George Snyder and Allen Rott

3/6/2023

/23CV10C8-

-3/27/2

4/5/ 2023

Call John Lacher . S

BE

4/1 17/ 2023

Ge

5 3/2023 oe Email real estate taxes: call to Bob émstein . — 0.30 hrs S “127.50

Page 9

Case 22-20823-GLT Doc572-1 Filed 03/19/24 Entered 03/19/24 09:35:56 Desc
Exhibit} Page 10 of 12

0.20 hrs

5/4/2023 Call John Lacher

eae

ae
LSS

_ Emails to and from Bob Bernstein telamended IRS claim

5/15/2023

ae “holon George Snyder's aoe and Mation for Admin. Expense:
review of Insurance payments

tec

oN:

ppeal

Be

Email to Sara Wenrich and Bob Bernstein re preferences

8/17/2023 Hearing re Status Conference—JudgelT Taddonio
8/18/2023 Proceeding Memo

Case 22-20823-GLT Doc572-1 Filed 03/19/24 Entered 03/19/24 09:35:56 Desc
Exhibit} Page 11 of 12

16/2023 Call to Bob Bernstein . 0.20 hrs

Review of Motion to Reset Hearing to Approve Settlement

es

eR

a
ee

Review of Objections to Claims 2 and 3~-Bi

eat eset

ceo

__1/9/2024 3-CV- 1410

eae
a i

“Review of 4/ 13/23 hearing a

Calls from and to Bob Bernstein; call Eric Bononi;
review of 2016 tax return and Stipulation and Order

0.30 hrs” 127.50
lence set a eae

He eee

eet

Call to Bob Bernstein

_0.30 hrs

sauna

Hite Hee 2

: 2022 and 2023 Federal and State Income Tax Returns . 0. 80 0 hrs
eae Income x return payment 0.40 hrs

ste see waar

Case 22-20823-GLT Doc572-1 Filed 03/19/24 Entered 03/19/24 09:35:56 Desc

Exhibit

3/4/2024 Review Memorandum Opinion and ¢

Page 12 of 12

rder to Show Cause 0.70 hrs S 297.50

aS

aid Admin

‘Dra —, pp ication for Unp

stative Fees .80 hrs

S 340.00

102.30hrs  $ 43,477.50
